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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

FLOORCOVERINGS                           )
INTERNATIONAL, LTD.,                     )
                                         ) CIVIL ACTION FILE NO.:
      Plaintiff,                         ) 1:21-cv-01108-WMR
                                         )
v.                                       )
                                         )
MICHAEL GRECO                            )
                                         )
      Defendant.                         )
                                         )
                                         )
                                         )

                                   ORDER

      Plaintiff Floorcoverings International, Ltd. (“FCI”), by their attorneys,

having moved for an order pursuant to Federal Rule of Civil Procedure 55(b)

directing entry of judgment and the award attorneys’ fees in its favor and against

Defendant Michael Greco (“Defendant Greco”), it is hereby ORDERED as

follows:

      1.     Having read and considered the pleadings of record and affidavits

submitted by FCI, and in consideration of Defendant Greco’s default, this Court

finds that Defendant Greco has breached his Promissory Note and Franchise

Agreement with FCI.
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      2.     FCI’s Motion for Entry of Default Judgment is GRANTED.

      3.     A judgment shall be entered in favor of FCI and against Defendant

Greco in the amount of $133,770.48, consisting of $78,983.00 for breach of the

Promissory Note (plus post-judgment interest) and $54,787.48 for breach of the

Franchise Agreement (plus post-judgment interest), in addition to $7,175.00 in

attorneys’ fees and costs.

      SO ORDERED, this 23rd day of July, 2021.



                                           _______________________________
                                           WILLIAM M. RAY, II
                                           United States District Court Judge
                                           Northern District of Georgia




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